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                                                                                                US D C S D N Y
                                                                                                D OC U ME NT
                                                                                                E L E C T R O NI C A L L Y FI L E D
U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                                                D O C #: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
S O U T H E R N DI S T RI C T O F N E W Y O R K
                                                                                                D A T E FI L E D: 1 / 1 1 / 2 0 2 1
-------------------------------------------------------------------X
  B Y R O N B R E E Z E, J R. ,                                    :
                                                                   :
                                                   Pl ai ntiff,    :
                               -a g ai nst -                       :                                    1: 2 0 -c v -6 9 5 4 -G H W
                                                                   :
  H & K H O T E L C O R P. d / b / a H O T E L 4 6 TI M E S :                                                  OR DER
  S Q U A R E,                                                     :
                                                                   :
                                               D ef e n d a nt .   :
-------------------------------------------------------------------X
G R E G O R Y H. W O O D S, U nit e d St at es Distri ct J u d g e:
            I n t h e or d ers s c h e d uli n g t h e i niti al pr etri al c o nf er e n c e i n t his m att er, t h e p arti es w er e

dir e ct e d t o s u b mit a j oi nt l ett er vi a E C F a n d t o e m ail a j oi nt pr o p os e d C as e M a n a g e m e nt Pl a n a n d

S c h e d uli n g Or d er t o C h a m b ers b y n o l at er t h a n J a n u ar y 7 , 2 0 2 1. See D kt. N os. 6 , 1 8 . T h e C o urt h as

n ot r e c ei v e d t h e p arti es’ s u b missi o ns. T h e p arti es ar e dir e ct e d t o s u b mit t h eir j oi nt l ett er vi a E C F

a n d t o e m ail t h eir j oi nt pr o p os e d C as e M a n a g e m e nt Pl a n t o C h a m b ers f ort h wit h, a n d i n n o e v e nt

l at er t h a n J a n u ar y 1 3 , 2 0 2 1.

            T h e C o urt r e mi n ds Pl ai ntiff t h at in t h e e v e nt D ef e n d a nt f ails t o a p p e ar i n t his a cti o n b y

J a n u ar y 1 4, 2 0 2 1, t h e d at e of t h e i niti al pr etri al c o nf er e n c e, t h e C o urt e x p e cts Pl ai ntiff t o fil e a n y

a p pli c ati o n f or d ef a ult j u d g m e nt b y n o l at er t h a n J a n u ar y 3 0, 2 0 2 1. See D kt. N o. 2 0. A n y s u c h

a p pli c ati o n s h o ul d c o m pl y wit h t h e C o urt’s I n di vi d u al R ul es of Pr a cti c e i n Ci vil C as es.

            Pl ai ntiff is dir e ct e d t o s er v e t his or d er o n D ef e n d a nt a n d t o r et ai n pr o of of s er vi c e.

            S O O R D E R E D.

 D at e d: J a n u ar y 1 1, 2 0 2 1                                        _____________________________________
                                                                                     G R E G O R Y H. W O O D S
                                                                                    U nit e d St at es Distri ct J u d g e
